944 F.2d 901
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vance B. HUMPHRIES, Plaintiff-Appellant,v.BRUNSWICK CORRECTIONAL CENTER, Sargeant Northington, K.H.BLACKWELL, Defendants-Appellees.
    No. 91-7061.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 5, 1991.Decided Sept. 18, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   John A. MacKenzie, Senior District Judge.  (CA-90-1276-N)
      Vance B. Humphries, appellant pro se.
      William W. Muse, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Vance B. Humphries appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Humphries v. Brunswick Correction Center, CA-90-1276-N (E.D.Va. Mar. 13, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    